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                                    I-]NITED STATES DISTRICT COURT
                                        DISTRICT OF CONNECTICUT


                                                          Case No.: 2:18-cv-1450
BAITBAIL{ CUADRADO.

                                     Plaintiff,
                                                          Jurv Trial Demanded
        vs.

CREDIT ACCEPTANCE CORPORATION;
and DOES l-10, Inclusive,                                 coMPI,ATNT
                                     Defendants.
                                                          August 27,2018



        Barbara Cuadrado ("Plaintiff'), by and through undersigned counsel, states as follows:

                                                  JURISDICTION

        l.       This action arises out of Defendants' repeated violations ofthe Telephone Consumer

Protection Act,47 U.S.C. 5 227, et. seq. (the "TCPA") and the Connecticut Creditor Collection

Practices Act, Conn. Gen. Stat. $ 36a'645 et seq., (the "CCPA").

        2.       Supplemental jurisdiction exists pursuant to 28 U.S.C. $ 1367.

        3.       Venue is properbefore this Courtunder 28 U.S.C. $ 1391(b), as Defendants tansact

business in this District, and as a substantial part of the events giving rise to this action occurred   in

this District.

                                                    PARTIES

        4.       Plaintiff is an adult individual who at all relevant times resided in Groton,

Connecticut, and is a "person" as defined by 47 U.S.C.A. $ 153(39).

         5.      Plaintiff is   a   "consumer" as defined in Conn. Gen. Stat. $ 36a-645(1).
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       6.         Defendant Credit Acceptance Corporation ("Credit Acceptance"), is a Michigan

business entity with an address of 25505 West Tr.velve Mile Road, Southfield, Michigan 48034, and

is a "person" as definedby 47 U.S.C.A. $ 153(39).

       7.         Defendant Credit Acceptance Corporation ("Credit Acceptance") is a creditor as

defined in Conn. Gen. Stat. $ 36a-6a5(2) and is engaged in the business of extending credit to

consumers in Connecticut.

       8.         Barbara purchased a vehicle that was financed, in part, through the extension of credit

by the Defendant in a transaction that was for personal, family or household purposes as defined in

Conn. Gen. Stat. $ 36a-645(3).

       9    .     DOES    1   -   1   0 (the "Agents") are individual agents employed by Credit Acceptance and

whose identities are currently unknown to the Plaintiff. One or more ofthe Agents may be joined as

parties once their identities are disclosed through discovery.

        10.       Credit Acceptance at all times acted by and tluough one or more of the Agents.

                                                             FACTS

        I   1.    Within the last four years, Credit Acceptance began placing calls to Plaintiffs cellular

telephone, number 860-XXX-4824, in an attempt to collect a debt from the Plaintiff.

        12.       At all times mentioned herein, Credit Acceptance placed calls to Plaintiff         s   cellular

telephone number using an automatis telephone dialing sy$em ("ATDS" or "predictive dialer") with

the present capacity to dial randomly or sequential numbers and/or by using an artificial or

prerecorded voice.

        13.        Plaintiff sent a letter to Credit Acceptance, via the U.S Postal Service, return receipt

requested, notifying Credit Acceptance to stop calling her.

        14.        The letter described in Paragraph 13 was received by Credit Acceptance on August

21,2017.
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        15.        Connecticut Agency Regulation         $   36a-647-4 states that   a creditor shall   not

communicate with a consumer debtor without the prior consent of the debtor.

        16.        Connecticut Agency Regulation $ 36a-647-4(c) states that prior consent of the

consumer does not include consent obtained by virtue of any provision in any writing evidencing the

debt or executed at the time the debt was incurred.

        17   .     Plaintiff s consent to receive telephone calls, if it was ever given, was revoked by the

Plaintiff when she sent a letter to the Defendant requesting the telephone calls to stop.

        18.        Credit Acceptance continued to place telephone calls to the Plaintiff after its receipt

of the Plaintiff s letter requesting the telephone calls to stop.

        19.        On August 31,2017 ,the Plaintiff instructed Credit Acceptance over the telephone to

stop calling her and told the Defendant that she was represented by an attorney and gave the

attorney's contact information.

        20.        The agent for Credit Acceptance continued to discuss the debt and resolution of the

debt after Barbara gave the agent her attomey's contact information.

        21.         Credit Acceptance continued to place telephone calls to the Plaintiffdespite its receipt

of a letter to cease telephone contact and, further, despite its knowledge that the Barbara             was


represented by an attorney.

        22.         On September 21, 2017 the Plaintiff called the Defendant from her attorney's

telephone to tell the Defendant yet again that she was represented by an attorney.

        23.         The Defendant continued to place telephone calls to the Plaintiff after September?l,

2017.

        24.         If Credit Acceptance previously had consent to contact the Plaintiff     at her cellular

telephone numbero that consent was revoked prior to the telephone calls placed by Credit Acceptance

that are the basis of this Complaint by the Plaintiff because the Plaintiff sent a letter to the
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Defendant requesting the telephone calls to stop and, later, when she informed the Defendant that

she was represented by an attorney.

           25.     The Defendant placed at least thirty (30) telephone calls to the Plaintiff after the

Plaintiff instructed the Defendant to stop calling her.

           26.     The Defendant placed calls from (31,3)263-1172, and (517) 861-2084.

           27.     Plaintiff had   a   prior business relationship with Credit Acceptance.

                                                           gouNr I

           VIoI,l$IoNsgr TIIE TE-LPPHOIIE                         C.ONSUMpR PROTECTION              ACr;
                                                 47 U.S.C.5227. et ses.

           28.     The Plaintiff incorporates by reference all ofthe above paragraphs ofthis Complaint

as though     fully stated therein.

           29.     At all times mentioned herein and within the last four years, Defendant                     called

Plaintiff on her cellular telephone using an automatic telephone dialing system ("ATDS" or

"Predictive Dialer") that had the present capacity to dial the Plaintiffs number randomly or

sequentially and/or by using a prerecorded or artificial voice.

           30. In expanding the prohibitions of the TCPA, the Federal Communications
Commission ("FCC") defines a Predictive Dialer as "a dialing system that automatically dials

consumers' telephone numbers in a manner that "predicts" the time when a consumer                       will   answer


the phone and a [representative]          will   be available to take the caII..."2003 TCPA Order        l8 FCC    36


Rcd 14022. The FCC explains that if              a   representative is not "free to take a call that has been placed

by   a   predictive dialer, the consumer answers the phone only to hear 'dead air' or a dial tone, causing

 frustration." Id.Inaddition, the TCPA places prohibitions on companies that "abandon" calls by

 setting the "predictive dialers to ring for          a   very short period of time before disconnecting the call; in

 such cases, the predictive dialer does not record the call as having been abandoned." -Id.
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          31.     Defendant's telephone systems have some earmarks of a Predictive Dialer. Often

times when the Plaintiff answered the phone, she was met with a pre-recorded message before the

Defendant's telephone system would connect her to the next available representative.

          32.     Upon information and belief, Defendant's Predictive Dialers had the present capacity

to store or produce telephone numbers to be called, using a random or sequential number generator,

at the times that the Defendant called the Plaintiff.

          33.     Despite Plaintiff directing Defendant to cease all calls to her cellular telephone,

Defendant continued to place automatic telephone calls to Plaintiffs cellular telephone knowing that

it lacked consent to call his number. As such, each call placed to Plaintiff was made in a knowing

and/or willful violation of the TCPA, and subject to treble damages pursuant to 47 U.S.C.              $


227(b)(3)(c).

          34.     The calis from Defendant to Plaintiff were not placed for "emergency purposes" as

defined by 47 U.S.C. $ 227(bX1)(AXi).

          35.     Upon information and good faith belief, Defendant placed the calls at issue to

plaintiff willfully and knowingly in that it consciously and deliberately made the calls referenced

herein.

          36.     Plaintiff suffered harm as a result of Defendant's telephone calls at issue in that she

suffered an invasion of her privacy, an intrusion into her life, and a private nuisance.

          37.      Additionally, the unwanted calls at issue unnecessarily tied up PlaintifPs cellular

telephone line.

          38.      As a result of each call made in negligent violation of the TCPA, Plaintiffis entitled

 to an award of $500.00 in statutory damages for each call in violation of the TCPA pursuant to 47

 u.s.c.   $   227(b)(3XB).
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         39.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to         $


227   (b)(3)(B) and 227 (bX 3 XC).

                                              COUNT     II
VIOLATIONS OF THE CREDITOR'S COLLpCII9N PROTECTION ACT f6CCPA")                                      -
                                     Conn. Gen. Stat. $ 36a-648

      40. The Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated therein.

      41. The Plaintiff sent a letter to the Defendant, return receipt requested via the U.S. Postal

Service, requesting the Defendant to stop calling the        Plaintiff. This letter was received by the

Defendant on August 21,2017, according to the U.S. Postal Service.

      42. TheDefendant continued to place telephone calls to the Plaintiffafter the Defendant received

the Plaintiff s letter requesting that they stop calling her.

      43. The majority of these telephone calls were placed within one year prior to the filing of this

complaint.

      44. Defendant violated Connecticut General Statute         $ 36a-648 and Connecticut Agency

Regulation g 36a-647 -4(aX2) by engaging in conduct the natural consequence of which is to harass,

oppress, or abuse the Plaintiff in connection with the collection of a consumer debt when the

Defendant placed telephone calls to the Plaintiff without the Plaintiff s consent.

      45. The Defendant is a creditor as defined by Connecticut General Statute $ 36a-6a5(2).

      46. The debt was for personal, family, or household purposes.

      47.The debt has since been discharged in a consumer bankruptcy that the Plaintiff filed on

December 1,2017.
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    48. Upset with the telephone calls by the Defendant, the Plaintiffcalled the Defendant on August

31, 2017 at approximately 7:t2 p.m. at (313) 263-1172 to notifu the Defendant that she was

represented by Attorney David Falvey and provided contact information for Attomey David Falvey.

    49. The Defendant continued to place telephone calls to the Plaintiff s cell phone.

    50. Upon information and good faith belief, Defendant placed the calls at issue         to Plaintiff

willfully   and knowingly in that   it consciously and deliberately made the calls referenced herein.

    51. Plaintiff sufferedharm as aresult of Defendant's telephone calls at issue inthat she suffered

an invasion of her privacy, an intrusion into her life, and a private nuisance.

    52. Additionally, the unwanted calls at issue unnecessarily tied up   Plaintiff s cellular telephone

line.

                                               COUNT    III


                                              ("CUTPA") _

                                 Conn. Gen. Stat. I42a-110b. e/seo.

        53.       Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

            54.   At all relevant times, the Defendants were engaged in a trade or commerce      as


defined under CUTPA.

        55.       The Defendants' harassing telephone calls to collect a debt despite the

Defendant's knowledge that the Plaintiffdid not want to be called and that the Plaintiff was

represented by an attorney, constitute unfair and deceptive practices within the meaning        of

CUTPA, as such practices offend public policy, are unfair, immoral, unethical, oppressive or

unscrupulous and have caused and continue to cause substantial injury to the Plaintiff.

            56.    The Plaintiffhas suffered a significant and ascertainable loss, including but not

limited to the cost of this action, including attorney's fees and costs of litigation, and an
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ascertainable loss including anxiety, embarrassment, loss of sleep, headaches, stress,

inconvenience, and emotional distress as a result of the Defendants' conduct.




                                  Jury Trial Demanded

       Plaintiff hereby demands   a   trial by jury.



       WHEREFORE, Plaintiff prays for relief           and judgment, as   follows:

               (a)     Adjudging that Defbndant violated 47 U.S.C. S 227(b)(lxAxiii), and

enjoining Defendant from continuing to place calls to Plaintiffs cellular telephone number and from

committing turther violations of 47 U.S.C. $ 227(bXlXAXiii);

               (b)     Adjudging that Defendant violated Conn. Gen. Stat. $ 36a-648, and enjoining

Defendant from further violations of Conn. Gen. Stat. $ 36a-648 with respect to Plaintiff.;

               (c)     Awarding Plaintiff actual damages, or statutory damages under 47 U.S.C.    $


227(b)(3) in an amount up to $1,500.00 per violation;

               (d)     Awarding Plaintiffstatutory damages under the CCPA;

               (e)     Awarding Plaintiff reasonable costs, expenses, and attorneys' fees incuned in

this action, including expert fees, under Conn. Gen. Stat. $ 36a-648 and Rule 23 of the Federal

Rules of Civil Procedure; and

                (0     Awarding other and further relief as the Court may deem just and proper.
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Dated August   27,2018             Respectfully submitted,

                                   /s/ Kenneth R. Davison
                                   Kenneth R. Davison, Esq. (ct29644)
                                   Action Advocacy PC
                                   One Crouch Street
                                   Groton, CT 06340
                                   Telephone: (860) 449-1 5 I 0
                                   Facsimile: (860) 449-8046
                                   Email : office@.actionadvocacy.com
                                   Counsel for the Plaintiff
                                       Case 3:18-cv-01450-AVC Document 1 Filed 08/27/18 Page 10 of 10

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I. (a) PLAINTIFFS                                                                                                                DEFENDANTS
Barbara Cuadrado                                                                                                               Credit Acceptance Corporation

     (b)     County of nesidence of Fint Listed Plaintiff New                           London CT                                County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PI/4INTIFF CASES)                                                                                               (IN U.S. PI.AINTIFF CASES ONLY)
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     (C)     AnomeYs (Fim Name, A&ress, ond Telephmc Number)                                                                     Attomeys QfKnown)
Kehheth R. Oavison, Action Advocaci, P.C., One Crouch St., Groton, CT
06340; (860) 449-1510


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